                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                   Plaintiff,

             v.                                             Case No. 16-CR-87

JOSE DEANDA,

                   Defendant.


                      REPORT AND RECOMMENDATION
                     ON DEFENDANT’S CHANGE OF PLEA


      The United States of America and the defendant, Jose Deanda, appeared

before me on August 2, 2017, for a change of plea colloquy pursuant to Rule 11 of the

Federal Rules of Criminal Procedure. See Court Minutes for Change of Plea Hearing,

ECF No. 394. Mr. Deanda, who was represented by counsel at the hearing, consented

to my conducting the change of plea colloquy. I explained that it would be for United

States District Judge J.P. Stadtmueller alone, not me, to enter the plea and that my

role was to conduct the plea colloquy and then to prepare a report and

recommendation for ultimate disposition by Judge Stadtmueller.

      After Mr. Deanda was placed under oath and advised as to the implications of

being untruthful, I questioned him about his competency to go forward with the

hearing. Through his responses, I found that Mr. Deanda was lucid, intelligent, and

not under the influence of any intoxicants or substances.




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      I then discussed in detail each of the subjects specified in Rule 11, including

the rights Mr. Deanda would surrender by entering a plea of guilty, the maximum

penalties associated with the charged offenses, and the authority of the sentencing

judge to disregard any recommendations in the Amended Plea Agreement, ECF No.

354, and to sentence Mr. Deanda at the statutory maximums. Mr. Deanda fully

understood the rights he was surrendering and the implications of pleading guilty.

Mr. Deanda also was satisfied that he had received effective assistance of counsel.

      At the conclusion of this colloquy, I determined that the guilty plea was

knowing and voluntary and was not induced by threats or by promises not contained

in the Plea Agreement. I found that there was an independent factual basis

containing each of the essential elements of Count One of the Indictment, ECF No. 1,

to which Mr. Deanda was pleading guilty. Mr. Deanda advised that he was pleading

guilty to the charged offenses because he was, in fact, guilty and that the United

States could prove beyond a reasonable doubt that he was guilty of the charged

offenses. Finally, I found that, in responding to my questions, Mr. Deanda was

candid, respectful, and non-evasive, fully accepting responsibility for and

acknowledging the unlawfulness of his conduct.

      NOW, THEREFORE, IT IS HEREBY RECOMMENDED that defendant

Jose Deanda’s plea of guilty be accepted; that a presentence investigation and report

be prepared according to the schedule set by the Court; and that Mr. Deanda be

adjudicated guilty and have sentence imposed accordingly.




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      Your attention is directed to 28 U.S.C. § 636(b)(1)(B) and (C), Fed. R. Crim. P.

59(b), and E.D. Wis. Gen. L. R. 72(c), whereby written objections to any

recommendation herein, or part thereof, may be filed within fourteen days of service

of this Recommendation. Objections are to be filed in accordance with the Eastern

District of Wisconsin’s electronic case filing procedures. Failure to file a timely

objection with the District Judge shall result in a waiver of your right to appeal. If no

response or reply will be filed, please notify the Court in writing.

      Dated at Milwaukee, Wisconsin, this 2nd day of August, 2017.

                                                BY THE COURT:


                                                s/ David E. Jones
                                                DAVID E. JONES
                                                United States Magistrate Judge




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